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 8                                   UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                          No. 2:10-cr-00387-KJM
12                      Plaintiff,
13          v.                                          ORDER
14   LEODEGARIO GOMEZ-JUAREZ, et al.,
15                      Defendants.
16

17                  This matter is before the court on Leodegario Gomez-Juarez’s (“defendant”)

18   Motion for Early Release. (ECF 94.) The United States (“government”) opposes the motion.

19   (ECF 96.)

20                  Defendant seeks relief under the Federal Prison Bureau Nonviolent Offender

21   Relief Act of 2013 (“Relief Act”). (ECF 94 at 2.) The government responds that because “[t]he

22   Relief Act is a pending bill” and “not a validly enacted federal law[,]” “the [c]ourt is without

23   jurisdiction to consider the matter”; thus, “the motion should be dismissed.” (ECF 96 at 1-2.)

24                  “Federal courts are courts of limited jurisdiction. They possess only that power

25   authorized by Constitution and statute . . . .” Kokkonen v. Guardian Life Ins. Co. of Am., 511

26   U.S. 375, 377 (1994). The Relief Act was introduced on January 3, 2013. As of the date of this

27   order, the Relief Act is still a pending bill. See H.R. 62, 113th Cong. (2013-2014). Because a

28   pending bill is not federal law, this court lacks jurisdiction to entertain defendant’s motion.
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 1                Accordingly, defendant’s motion is DENIED.
 2                IT IS SO ORDERED.
 3   DATED: April 30, 2014.
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                                            UNITED STATES DISTRICT JUDGE
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